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   8   LIVE NATION WORLDWIDE, INC. and
       LIVE NATION ENTERTAINMENT, INC.
   9
  10   Counsel for Plaintiff on Next Page

  11
  12                               UNITED STATES DISTRICT COURT
  13                              CENTRAL DISTRICT OF CALIFORNIA
  14
  15   GEORGE WELLINGER,                       CASE NO. 2:20-CV-1612
       individually and on behalf of all
  16   others similarly situated,              STIPULATION REQUESTING
                                               DISMISSAL OF CASE WITHOUT
  17                        Plaintiffs,        PREJUDICE
  18           vs.                             Judge:        Hon. Philip S. Gutierrez
  19                                           Courtroom:    6A
       LIVE NATION WORLDWIDE,
  20   INC.; LIVE NATION
       ENTERTAINMENT, INC.; and
  21   DOES 1 through 50, inclusive,
  22                        Defendants.
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                                                               STIPULATION REQUESTING
       CASE NO. 2:20-CV-1612                                DISMISSAL OF CASE WITHOUT
                                                                             PREJUDICE
       LEGAL_US_W # 105257131.2
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                                                         STIPULATION REQUESTING
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   1   TO THE HONORABLE PHILIP S. GUTIERREZ OF THE UNITED STATES
   2   DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA:
   3
   4   Plaintiffs Anil Gupta, Morgan Katz and Colin Gharrity (the “FLSA Plaintiffs”), and
   5   Defendants Live Nation Worldwide, Inc. and Live Nation Entertainment, Inc.
   6   (jointly, the Parties) through their respective counsel, respectfully submit this Joint
   7   Stipulation to Dismiss the Entire Case Without Prejudice. In support of this Joint
   8   Stipulation to Stay, the Parties state:
   9                   1.         WHEREAS on or around February 8, 2019, Plaintiff George
  10   Wellinger filed a complaint in the Superior Court of the State of California for the
  11   County of Los Angeles against Defendants alleging violations of the California
  12   Labor Code and Unfair Competition Law on behalf of himself and others
  13   (Wellinger I).
  14                   2.         WHEREAS on or about May 2, 2019, Plaintiff George
  15   Wellinger filed, but did not serve a second complaint in the Superior Court of the
  16   State of California for the County of Los Angeles against Defendants alleging
  17   violations of the Fair Labor Standards Act (“FLSA”) and California’s Unfair
  18   Competition Law, and seeking penalties under the California Private Attorneys’
  19   General Act (Wellinger II).
  20                   3.         WHEREAS since Wellinger II was filed Anil Gupta, Colin
  21   Gharrity and Morgan Katz have consented to join Plaintiff’s FLSA claims as Opt-in
  22   Plaintiffs.
  23                   4.         WHEREAS on June 7, 2019, Wellinger I and Wellinger II were
  24   deemed related.
  25                   5.         WHEREAS on December 18, 2019, the Parties engaged in
  26   mediation and reached a tentative agreement to globally resolve Wellinger I and
  27   Wellinger II.
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                                                                   STIPULATION REQUESTING
       CASE NO. 2:20-CV-1612                          -3-       DISMISSAL OF CASE WITHOUT
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   1                   6.         WHEREAS on January 27, 2020, the Parties notified the state
   2   court of the Parties’ settlement of Wellinger I and Wellinger II, and requested that
   3   the court set a date for preliminary approval.
   4                   7.         WHEREAS on February 19, 2020, Defendants removed
   5   Wellinger II to this Court (Case No. 2:20-cv-01612-PSG-AGR).
   6                   8.         WHEREAS on March 4, 2020, Wellinger filed an unopposed
   7   Motion for Preliminary Approval of Class and Representative Action Settlement in
   8   Wellinger I.
   9                   9.         WHEREAS the hearing on the Motion for Preliminary Approval
  10   in Wellinger I was originally scheduled for March 30, 2020, but due to the
  11   restricted access to the courts because of COVID-19, the Wellinger I court
  12   continued the hearing to November 9, 2020.
  13                   10.        WHEREAS on September 18, 2020, the FLSA Plaintiffs filed an
  14   amended complaint in Wellinger II whereby Plaintiff George Wellinger was
  15   dismissed from this action.
  16                   11.        WHEREAS on October 6, 2020, the Parties advised the Court of
  17   the delay in approval of the Wellinger I class action settlement. The parties,
  18   because of the Wellinger II settlement, do not need to actively litigate Wellinger II.
  19           NOW, THEREFORE, it is stipulated by and between the Parties, by and
  20   through their respective counsel, that:
  21                   1.         The instant action shall be dismissed without prejudice pending
  22   the final approval of the Wellinger I class action settlement;
  23                   2.         After the Wellinger I class action settlement receives final
  24   approval, the Parties will submit a further stipulation to this Court requesting (i)
  25   approval of the Wellinger II plaintiffs’ FLSA settlement because (as required by the
  26   FLSA) the Parties appeared before the Court, and (ii) dismissal with prejudice;
  27
  28   //
                                                                       STIPULATION REQUESTING
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   1                   3.         The Wellinger II plaintiffs’ FLSA claims shall be tolled from the
   2   date the Wellinger II action was initially filed (May 2, 2019);
   3
       DATED: October 19, 2020                   PAUL HASTINGS LLP
   4                                             ELENA R. BACA
   5                                             CHRIS A. JALIAN
   6
                                                 By:            /s/ Chris A. Jalian
   7                                                             CHRIS A. JALIAN
   8                                             Attorneys for Defendants
   9                                             LIVE NATION WORLDWIDE, INC. and
  10                                             LIVE NATION ENTERTAINMENT, INC.
  11
       DATED: October 19, 2020                   GOLDSTEIN, BORGEN, DARDARIAN & HO
  12
  13                                             By:           /s/ Laura L. Ho
  14                                                           LAURA L. HO
  15                                             Attorneys for Plaintiff
                                                 GEORGE WELLINGER
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                                                                      STIPULATION REQUESTING
       CASE NO. 2:20-CV-1612                            -5-        DISMISSAL OF CASE WITHOUT
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